




















COURT OF APPEALS

EIGHTH DISTRICT OF
TEXAS

EL PASO, TEXAS

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&nbsp;


 
  
  ROSALBA HERNANDEZ
  
  
  §
  
  
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  No. 08-12-00128-CV
  
 
 
  
  Appellant,
  
  
  §
  
  
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  &nbsp;
  
  
  &nbsp;
  
  
  Appeal from the
  
 
 
  
  v. 
  
  
  §
  
  
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  65th District
  Court
  
 
 
  
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  §
  
  
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  DEPARTMENT OF FAMILY AND PROTECTIVE SERVICES,
  
  
  &nbsp;
  §
  
  
  of El Paso
  County, Texas
  
 
 
  
  &nbsp;
  
  
  &nbsp;
  
  
  (TC#
  2012DCM00064)
  
 
 
  
  Appellee.
  
  
  §
  
  
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O P I N I O N

&nbsp;

Rosalba
Hernandez seeks to appeal from an interlocutory order entered pursuant to Tex.Fam.Code Ann. § 262.2015 (West
2011).&nbsp; We will treat the motion as a
petition filed pursuant to Section 51.014(d)-(f) of the Civil Practice and
Remedies Code and Tex.R.App.P. 28.3.&nbsp; Finding that Section 51.014(d)-(f) does not
apply because the underlying suit was brought under the Family Code, we deny
the petition.

On January 3,
2012, the Department of Family and Protective Services filed suit seeking to
terminate the parental rights of Hernandez.&nbsp;
The trial court entered an order granting a motion filed by the Texas
Department of Family and Protective Services pursuant to Section 262.2015 of
the Texas Family Code because the trial court found that the children’s father
had subjected the children to aggravated circumstances.&nbsp; The order waived the requirements that a
service plan be prepared and from continuing reunification efforts.&nbsp; Additionally, the court ordered that trial on
the merits be accelerated due to the aggravated circumstances finding.&nbsp; On April 18, 2012, Hernandez filed with the
trial court clerk:&nbsp; (1) a motion with the
trial court requesting permission to appeal this interlocutory order; and (2)
notice of appeal.&nbsp; On that same date, she
filed with this Court a motion requesting permission to appeal pursuant to
Section 51.014(d) of the Civil Practice and Remedies Code.

Appellate
courts generally have jurisdiction over final judgments, and such interlocutory
orders as the Legislature deems appealable by statute. &nbsp;See Tex.Civ.Prac.&amp;Rem.Code Ann. §&nbsp;51.012
and § 51.014 (West Supp. 2011); Ruiz v.
Ruiz, 946 S.W.2d 123, 124 (Tex.App.--El&nbsp;Paso 1997, no pet.). &nbsp;The interlocutory order Hernandez seeks to
appeal is not appealable.&nbsp;&nbsp; Under the
2011 amendment to Section 51.014(d) of the Civil Practice and Remedies Code, a
trial court may, by written order, permit an appeal from an order that is not
otherwise appealable.&nbsp; Tex.Civ.Prac.&amp;Rem.Code Ann. § 51.014(d).[1]&nbsp; Section 51.014(f) provides that an appellate
court may accept an appeal permitted by Subsection (d) if the appealing party,
not later than the 15th day after the date the trial court signs the order to
be appealed, files in the court of appeals having appellate jurisdiction over
the action an application for interlocutory appeal explaining why an appeal is
warranted under Subsection (d).&nbsp; Section
51.014(d) does not, however, apply to an action brought under the Family
Code.&nbsp; Tex.Civ.Prac.&amp;Rem.Code
Ann. § 51.014(d-1).

Even if Section
51.014(d) applied in this case, we would deny the petition because Hernandez
has not obtained the trial court’s permission to appeal.&nbsp; See
Tex.R.Civ.P. 168 (“On a party’s
motion or on its own initiative, a trial court may permit an appeal from an
interlocutory order that is not otherwise appealable, as provided by statute. &nbsp;Permission must be stated in the order to be
appealed.”); Tex.R.App.P.
28.3(a)(“When a trial court has permitted an appeal from an interlocutory order
that would not otherwise be appealable, a party seeking to appeal must petition
the court of appeals for permission to appeal.”).&nbsp; Further, her petition does not comply with
the requirements of Rule 28.3.&nbsp; The
petition does not contain:&nbsp; (1) the information
required by Tex.R.App.P. 25.1(d)
to be included in a notice of appeal; and (2) a table of contents, index of
authorities, issues presented, and a statement of facts.&nbsp; See
Tex.R.App.P. 28.3(e)(1),
(3).&nbsp; The petition is also defective
because it does not argue clearly and concisely why the order to be appealed
involves a controlling question of law as to which there is a substantial
ground for difference of opinion and how an immediate appeal from the order may
materially advance the ultimate termination of the litigation.&nbsp; See
&nbsp;Tex.R.App.P. 28.3(e)(4). &nbsp;Accordingly, the petition seeking leave to
appeal the interlocutory order is denied.

&nbsp;

&nbsp;

May 9, 2012

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CHRISTOPHER
ANTCLIFF, Justice

&nbsp;

Before McClure, C.J., Rivera, and Antcliff, JJ.











[1]&nbsp; The amended version of Section 51.014(d)
applies here because the suit was filed after September 1, 2011, the effective
date of the amendment to the statute.&nbsp; See Acts 2011, 82nd Leg., ch. 203, §
6.01; Tex.R.App.P. 28.3 cmt.







